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                          UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF MASSACHUSETTS

 In re:
 Yvonne Skapars                                 Chapter 13
                                                Case # 15-11221-JNF

                       Debtor.


                                 CERTIFICATE OF SERVICE

The undersigned hereby certifies that a copy of the Notice of Hearing has been served by first
class mail, postage prepaid or by electronic notice upon the Debtor and Debtor's counsel of
record as set forth below.

Dated: August 27, 2015

Respectfully Submitted,


/s/ Carolyn Bankowski
_________________________________
Carolyn A. Bankowski, BBO 631056
Office of the Chapter 13 Trustee
P.O. Box 8250
Boston, MA 02114-0033
(617) 723-1313
13trustee@ch13boston.com


Service List:

 Yvonne Skapars
 122 Oakmont Road
 Yarmouth Port, MA 02675


 Peter M. Daigle, Esq.
 1550 Falmouth Rd., Suite 10
 Centerville, MA 02632
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                                       UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF MASSACHUSETTS


In re       Yvonne V. Skapars                                               Chapter: 13
                                                                            Case No: 15−11221
            Debtor                                                          Judge Joan N. Feeney



                                     NOTICE OF NONEVIDENTIARY HEARING

PLEASE TAKE NOTICE that a HEARING will be held on 9/25/15 at 09:30 AM before the Honorable Judge
Joan N. Feeney, District Courthouse, Assembly of Delegates Room, 3195 Main Street, Route 6A, Barnstable, MA
02630 to consider the following:

              [21] Chapter 13 Trustee's Motion for Order Dismissing Case.

OBJECTION/RESPONSE DEADLINE:

If no deadline is set, the objection/response deadline shall be governed by the Federal Rules of Bankruptcy
Procedure (FRBP) and the Massachusetts Local Bankruptcy Rules (MLBR). If no objection/response is timely
filed, the Court, in its discretion, may cancel the hearing and rule on the motion without a hearing or further notice.
See MLBR 9013−1(f).


THE MOVING PARTY IS RESPONSIBLE FOR:

        1. Serving a copy of this notice upon all parties entitled to notice forthwith; and

        2. Filing a certificate of service with respect to this notice seven (7) days after the date of issuance set forth
           below. If the hearing date is less than seven (7) days from the date of issuance, the certificate of service
           must be filed no later than the time of the hearing. If the movant fails to timely file a certificate of
           service, the court may deny the motion without a hearing.

NOTICE TO ALL PARTIES SERVED:

        1. Your rights may be affected. You should read this notice, the above referenced pleading and any related
           documents carefully and discuss them with your attorney, if you have one. If you do not have an attorney,
           you may wish to consult one.

        2. Any request for a continuance MUST be made by WRITTEN MOTION filed and served at least one (1)
           business day prior to the hearing date. See MLBR 5071−1.

        3. The above hearing shall be nonevidentiary. If, in the course of the nonevidentiary hearing, the court
           determines the existence of a disputed and material issue of fact, the court will schedule an evidentiary
           hearing. If this is a hearing under section 362, it will be a consolidated preliminary and final
           nonevidentiary hearing unless at the conclusion thereof the court schedules an evidentiary hearing.


Date:8/26/15                                                                By the Court,

                                                                            Cynthia Young
                                                                            Deputy Clerk
                                                                            617−748−5321

Emergency Closings: To find out if the Court will be closed in case of stormy weather or other emergency, dial (617) 748−5314 or (866)
419−5695 (toll free) for a recorded message.
